       Case 1:24-bk-11323-VK                      Doc 1 Filed 08/09/24 Entered 08/09/24 16:36:51                               Desc
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 UnitedStatesBankruptcyCourtforthe:                                   I                 FëLE D
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                                    (State)                                      CLERK U.S.BANKRUPTCY COtJRT
 Case numberflfknownt:                                Chapter 11                CENTRALDISTRICT OFCALIFORNIA
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O licialForm 201
V olunta ry Petition for N on-lndividua ls Filing for B ankruptcy                                                                         06/22
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Ifmorespaceisneeded,qttachaseparatesheettothisform.Onthetopofanyadditionalpages,writethedebtor'snameandthecase
number(ifknown).Formoreinformation,aseparatedocument,lnstructionsforBankruptcyFormsforNon-lndividuals,isavailable.


 1. Debtor's name                        Irwin Natural
                                                     s


 2. AIIothernames debtorused             Applied Nutriti
                                                       on,Nature'sSecret,Flochi,Love My Pet,Hydrocanna,
    in the last8 years                   Cell
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                                             arResearchFormul
                                                            as,Celul
                                                                   arResearch
    Includeany assumednames,
    trade nam es,anddoingbusiness
    as nam es



    Debtor's federalEm ployer            4 5 - 0 4 6 3 9 6 0
    IdentificationNumber(EIN)

 4. Debtor's address                    Principalplace ofbusiness'bk
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                                                         e Peak Road                          300           Corporate Pointe
                                        Number       Street                                  Number        street                     '
                                                                                              Suite 550
                                                                                             P.O.Box
                                         Topanga                     CA      90290            CulverCity                 CA         90230
                                        City                        State    ZIP Code        City                        State       ZlP Code




 5. Debtor'swebsite (URL)                hops'
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                                             //ww .i> innaturals.com/ .




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     alForm 201                              VoluntaryPetition forNon-lndivi
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                                                                                  ingforBankruptcy                               Page 1
         Case 1:24-bk-11323-VK           Doc 1 Filed 08/09/24 Entered 08/09/24 16:36:51                                 Desc
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Debtor                                                                            Case numbertfflçnoenl


 6. Type ofdebtor                   2 Corporati
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                                                                   lityCompany(LLC)andLi
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                                                                                                ityPartneràhip(LLP))
                                    Q Padnership(excluding LLP)
                                    D Other.Speci
                                                fy:
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                                    A.Checkone:
 T. Describe debtor's business
                                    Q HeaI thCareBusiness(asdefinedin11U.S.C.j101(27A))
                                    Q SingleAssetRealEstate(asdefinedin11U.S.C.j101$1B))
                                    Q Railroad(asdefinedin11U.S.C.j101(44))
                                    Q Stockbroker(asdefinedin11U.S.C.j101(53A))
                                    Q.commodi  tyBroker(asdefinedin11U.S.C.j101(6))'
                                    Q ClearingBarkk(asdefinedin11U.S.C.j781(3))
                                    2 Noneoftheabove

                                    B.checkal
                                            lthatapply:
                                    Q Tax-exemptentity(asdescribedin26U.S.C.j501)
                                    Q lnvestmentcompany,includinghedgefundorpooledinvestmentvehicl
                                                                                                 e(asdefi
                                                                                                        nedin15U.S.C.
                                      j80a-3)
                                    Q lnvestmentadvisor(asdefinedin15U.S.C.j80b-2(a)(11))

                                    C.NAICStNorthAmericanIndustryClassificationSystem)M-digitcodethatbestdescri
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    Underwhich chapterofthe         Cheçkone:
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    debtorsling?   ' '              Q Chapter7
                                    Q Chapter9
                                    2 Chapter11.Checkallthatapp/y:
    A debtorwho i
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    debtor'mustcheckthefirst.
                            sqb-                Q Thedebtorisasmallbusinessdebtorasdefinedi   n11U.S.C.j101(51D),andits
    box.A debtorasdefinedin                        aggregatenoncontingentIi
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    j1182(1)whoel ectstoproceed                    aft
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    undersubchapterVofchàpterl1                         recentbalancesheet,statementofoperations,cash-fl
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    (whethbrornotthedektörisa                           incom etaxreturnorifanyofthesedocum entsdonotexist,follow the procedurein
    'smallbusinessdebtor''
                         )must                      11U.S.C.j1116(1)(B).
    chedkthesecondsub-box.                        D Thedebtorisadebtorasdefinedin11U.S.C.â118241),itsaggregate
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                                                                                   ow statement,andfederalincometaxreturn,orif
                                                        anyofthese documentsdonotexist,follow the procedure in11U.S.C.
                                                        j1116(1)(B).
                                                  Q A plani  sbeingfiledwi
                                                                         ththispetition.
                                                  Q Accèptancesoftheplanweresoli     citedprepetitionfrom oneormoreclassesof
                                                    creditors,inaccordancewi th11U.S.C.j1126(b).
                                                  Q Thedebtorisrequiredtofil eperi odicrepods(forexample,10Kand10Q)wi     ththe
                                                    Securi tiesandExch,ngeCommi    ssionaccordingtoj13or15(d)oftheSecurities
                                                    ,   Exchange Actof1934.Fil
                                                                             e theAttachmentto Voluntary Petition forNon-lndividualsFili
                                                                                                                                       ng
                                                    forBankruptcyunderChapter11(Offi
                                                                                   cialForm 201A)withthi
                                                                                                       sform.
                                                  Q Thedebtorisashellcompanyasdefi nedintheSecuriti
                                                                                                  esExchangeActof1934Rule
                                                        12bQ .




 OfficialForm 201                     VoluntaryPetition forNon-lndividualsFiling forBankruptcy                           gage2
         Case 1:24-bk-11323-VK             Doc 1 Filed 08/09/24 Entered 08/09/24 16:36:51                                    Desc
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Debtor                                                                               Case number(eknown)


 9. Were priorbankruptcycases 2 No
    filed by oragainstthe debtor ,
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    Ifmorethan2 cases,attach a
    separatejjst.                            Di
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 10.Are anybankruptdy cases          Q No
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 11.W hy is the case filed in this   Checkallthatappl
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    districn                         2 Debtorhashaditsdomicile,principalplaceofbusiness,orprincipalassetsinthisdistrictfor180days
                                        immedi  atelypreceding the date ofthi
                                                                            s petitionorforaIongerpartofsuch 180 daysthan i
                                                                                                                          n anyother
                                        district.
                                     2 A bankruptcycaseconcerningdebtor'saffil
                                                                             iate,generalpadner,orpaltnershi
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 12.Does the debtorown orhave 2 No
    possession ofany real      D Yes.Answerbelowforeachpropertythatneedsimmediateaqenti
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                                              assetsorotheropti ons).
                                            Q other


                                            W here i
                                                   s the property?
                                                                     Number          Street


                                                                     City                                          StateZlP Code

                                            Isthe property insured?
                                            Q No
                                            Q Yes.Insuranceagency           .-                                                         .-



                                                      contactname

                                                      phone



           Stalistioaland adm inistrative information




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      alForm 201                        Voluntary Petiti
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                                                                     dualsFilingforBankruptcy                                 Page 2
        Case 1:24-bk-11323-VK           Doc 1 Filed 08/09/24 Entered 08/09/24 16:36:51                                    Desc
                                        Main Document    Page 4 of 38

oebj
   or       Irwin Naturals                                                         casenumber(i
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            Name



 13.Debtor'sestimatign
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16.Estimated Iiabiliti:s          u $scloo-j-s-jccjccc          2 $1c,0(m,0c1-$50mllli
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17.Declarationandsijnatureof         Thedebtorrequestsreli
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                  Case 1:24-bk-11323-VK                                                    Doc 1 Filed 08/09/24 Entered 08/09/24 16:36:51                                             Desc
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     18.Signatureofattorney                                                    X                                                                        oate 61/04/R
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     OfficialForm 201                                                                VoluntaryPetition forNon-lndividualsFil
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                        Attachm ent- SupplementalinformationforSection 10
                                          Ol cialForm 201
                      Voluntary Petition forNon-lndividualsFiling forBankruptcy

                             Debtor:lrwinNaturals(NevadaCorporation)


Am liated Cases
1.
Debtor: DAIUS Holdco,Inc.RelaNonship:Parent
Distritt:Central        W hen: 08/09/2024
Case Number,ifknown


Debtor: 5310 Holdinas,LLC      Relationship:Subsidiarv
Distritt:Central        W hen:08/09/2024
Case Number;ifknown
3.Debtor: Irwin Naturals,Inc. Relaeonship:Parent
District:Centr'
              al        W hen: 08/09/2024
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            Case 1:24-bk-11323-VK                                    Doc 1 Filed 08/09/24 Entered 08/09/24 16:36:51                                     Desc
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     C hapter ïï or Chapter 9 c ases:List of Creditors W ho H ave 1he 20 Largest
     U nsecured C laim s and A re Not Insiders                                   12/15
     A listofcreditors holding the20Iargestunsecured claimsm ustbe filed in aChapter11 orChapter9case.Include cl
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     disputes.Donotincludeclaimsbyanypersonorentitywhoisaninside6asdefinedin11U.S.C.j101431).Also,donotincludeolaimsby
     secured creditors,unless the unsecured claim resultingfrom inadequate collateralvalue places the creditoramong theholdersofthe 20
     largestunsecured claims.
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    6 Paragon Laboratories                       Jay Kaufm an                      VroeDebts see*** x/A                                      x/A                 $171,404.3
       20433Earlstreet
       Torrance,CA 90503
                                                 800-231-3670
                                                 jayk@paragonlabusa.com l
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       Davenport,                                l
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    8 BallardSpahrLLP                            graig Ganz                                Professional see***             N/A               N/A                 $152,014.0
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  Debtor         Irw in Naturals                                                           Case numbertffaowrnl
              Name


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10 PO Box1077                  :        951-685-4100                                         ee
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       re FulfillmentLLC                 Minerva Castro           --
12 PO Box 956430                         678-377-8585
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   Duluth,GA 30095                       minerva.castro@ staciam
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13 ZappSPaBckaging Inc.
   1921                                 Dan Entzminger               Trade Debts            see***        N/A                N/A                $94,240.38
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   Fi-                                  gtBg.com                                                                  -                             .
     ll-stream Group                    Michelle Bilodeau               professi
                                                                               onal s
15 329 Buqedield Rd                     530-                                          ee ***               N/A               N/A                $72,388.94
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   SanAnselmo,CA 94960                  finance@ fullstreamgroup.
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16 Nielsen Co.      '                    Mikè-uuluc.
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   PO Box 88956                          747-206-9019             Services      below
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        o Grove,IL 60089
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        ox 0001                         623-462-4213                                        bejow
   LosAngeles,CA 90096                  tracy.a.fuller@aexp.com                            j
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20 I                                    TerryJackson                vrade Debts             See***         N/A                   N/A                $41,460.64
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          onal,Inc.                     562-921-9511                                        bejow
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                  A/achm ent- Supplem entalInform aNon forOm tialForm 201
                   Voluntal Peeeon forNon-lndlvlduals FlllngforBankruptW
                       Authorl? forthe sllng ofthe BankruptW Petieon
                                  Debtor:5310 Holdings,LLC




            Attqched hereto arethe W ritten ConsentAuthorizing the Debtor'sPetition:


      ''Om nibusW ritten ConsentIRW IN NATURALS, INC.
                                                    ,BritishColumbiaCprporation,('Parent'')and
      Afsliated Entities.
                        ''

  2. ''OM NIBUSRESOLUTION OFTHEPRESIDING QFFICER('/Resolution'
                                                             ')OFDAIUSHOLDCO,INC.,
     and IRW IN NATURALS''




             Ideclareunderpenaltyofperjuryt attheforegoing''ruq and correct.
             I                                  :                 '
                               Executed on          '<       .-   .
                                       MM /DD / YYY

                   Signature            representative ofdebtorPrinted nam e
Title Klee I- in,Presldentand CEO ofI- ln Naturals. Sole M analinz M emberof5310 Holdlnls,LLC
       Case 1:24-bk-11323-VK            Doc 1 Filed 08/09/24 Entered 08/09/24 16:36:51              Desc
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                                               O m nlbasW ritten Consent
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                     I m N NATIm ALS,INCOaBritisllColumbiaCorporationgCparent')
                      '
                                                 and Am llated Entides




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        R ECITA LS:

        W HEQEAS,theundersigned,being allofthe boardofdirectors,m nnngers, orsimilargoverning
        bodyorthesoleom cer,solememberorsolemanagingm ember(each,an dtAuthorlzingBody''and,
        collectively,thedçAuthorizlngBodiesol,asapplicable,ofeachofthecompaniessetforthonExldbit
        A attachedhereto(each,aRcompany''andcoilectively,theKcompaniesn),andeachorganizedand
        exise g undertheintem allaws ofthe stateofincorporatlon orform ationy asapplicable,assetfori in
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        each Company'sapplicable govem ing documents,Each Authohzing Body hereby takesthe following
       actiohsandadoptsthefollowingresolutionsb!writtenconsent,pursuanttoeachComgany'sbylaws,
       limitedliabili!ycompanyagreem ent,orsuch stmilargovernlngdocumentandtheapphcablelawsof
       thejurisdictidnofincorporationorformationyasapplicable,inwhicheachCompanyisorgnnized.It
       isacu owledjedthatifanyautholizationisrevokedforanyoftheCompanieslistedinBx.A asset
       forth hereiw thatrevocation shallhaveno effecton thisresolution'sbinding eFecton hwinN aturals,
       lnc.aBritishColumbiaCoiporation(:'pm+nf')oranyotherCompanywhereauthorizationisnot
       revoked.Totheextentallowableandinadditio'ntoitsauthorizinqauthorityoverParent,the
       authorization from Parentherein shallapply to each Company astfaul orizedby itsAuthorizing
       Body.

       W HEREAS,the AuthorizingBody hasreviewed and considered tlle G ancialalld operaional
       conditionoftheCompanyanditssubsidiaries,andtieCompany'sbushwssonthedatehereofi
       including thehistoricalperform ance ofthe CompM y,theassetsoftheCompany, tlw currentand
       long-term liabilitiesofthe Company,them arketfortlleCompu y'sproducts and services, and credit
       m arketconétions;and


       W HEREAS,theAutlmrizing Body hasreceived,reviewed and considered tlzerecomm endationsof
       theseniorm anagem entofthe Company and theCompany'
                                                        slegal,fnancialand otheradvisorsasto
       therelativerkksandbenestsofpursuingabnnknlptcyproceedingtmdertheprovisionsofTitle tlof
       theUnited StatesCode;
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       NOW THEREFOQE IT IS TIEQEBY RESOLVED THAT:
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       kRsotzu b,that,inthejudgmentoftheAuthorizingBody,itksdesirable and in thebesthterestsof
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       theC:ompe y,itscreditors,stöckholdersandotherinterestedparties,tlmtavoluntarypetiion(the
       Gpetition'')beEledbytheCompaaylmdertheprovisionsofchapttr11ofTitle 1loftheUnited
       StatesCode;and itisfurther


       QESOLVED,that,inthejudr entoftheAuthorizinghody,itisdesirableandinthebestinterestsof
       eachoftheUompany'ssubsidiarieslistedonExhibitA attachedhereto(theGFilingSubsidiaries''),
       theircreditors,stockholdersand oierinterestedparties,thatvolulltarypetitionsbe flled with tlx for
       each oftheFiling Subddimiestmdertheprovisionsofchapter 11ofTitle 11 oftheUnited States
       Codeandanyotherpetitionforrelieforrecoe tionorotherorderthatmaybedesirableunder
       applicable law in theUnited Stafes;and itisfurther


       QESO LVED ,thattlleCompany shallbe,and ithereby is,dlected and authozized to exexmte and flle
       on behalfofthe Com pO y allpetitions,schedqles,Iistsatld otherpapersordocuments,and to takeany
       and allaction which they deem reasonable,advisable,expedient,convenient,nccessary orproperto
       obtainsuch:
                 relie: anditisfndher

       RESOLW D,thatKleelrwin,itlhiscapacityasClliefExecutiveOmcer,MarkGreeninhiscapacity
       âsChiefFinancialOl cersand each and evely otherom ceroftheCompany and ally oftheir
       desi> ees(collectivelytlleO esignatedPersons''),beandeachofthem,actingaloneorinany
       combination,hereby isaui orized,directcd and em powexed,on behalfofand in thenam eofthe
       Company,(i)toexecuteandverifythePditionaswellasa1lotherancillarydocumentsandtocause
       thePetition to be Eled with theUnited StatesBnnkrlzptcy Court
       commenczgacase(theSsBankrupfc'yCase'')andtomakeorcausetobemadepriortotheexecufon
       iereofany'modificationstothePetitionorancillarydocltmerïtq,and(ii)toexecute,verifyandG1eor
       causetobe sled allpeti'tions, schedules,lists,m otions,applicationsand otherpapersordocum exits
       necessary ordesirablein commdion with the foregoing;and itisftuther


       RESO LU D ,tllattllelaw 5= ofGrernberg GluskerFieldsClam an & M ache ger,LLP and/or
       Lesnick,PrinceandPappas,LLP,oranyotherlaw GrmdeemedtobefitbytheDesignatedPersons
       CBK Comiser'l,andherebyis,authorized andempoweredtorepresenttheCompany asbnnkrnptcy
       counneltoqepresentand assisttheCompanyincarryingoutitsdutiesunderTitle11oftheUnited
       State!Codé,and to take any and al1actionsto advancetheCompany'srigllts,hmluding the
       preparation'ofpleadh gsand slingsin thtBsnkmlptcy C% e;and in connection therew ith,the
       D esignatedlpersonsbeand cach ofthemoacting alone orillany cöm bination,hereby is,authorized,
       directedand empowered,on behatfofandinthenameoftheCompanytoexvcuteappropriate

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            retcntionapeements,payapmopriateretainerspHorto andlmmediatelyupon theslingofthe
            BamkrnptoyUase,andto causetobeGledan appropriateappllcation forauthoritytorete the
            servicesofBK Counsel;and itisfndher




            RESO LVED ,1 attheDesi> atedPersonsbe and each ofthem , ace g alone orin any combinafon,
            herebyisauthorized,dirededandempowerc onbehalfofandinthennmeoftheCompanyto
            employ any otherindividualand/orGrm asprofessionalsorconsultantsorGnnncialadvisorstothe
            CompanyasàredeemednecessarytorepresentandassisttheCompanyincan> goutitsduties
            undœ Title11oftheUnitedStatesCode,andin cozmecGon therewil theDesir atedPersonsbeand
            each ofthem ;ace g alone orin any com bh auop hereby Lsaui orized, d rected and empowered,on
            behalfofand1in thename ofthe Com pany,
                                                    toexecuteappropriateretojonagreements,pay
            appm priaterçtainerspriorto and im me atçly upon thefling oftheBlmknxptcy Case, andtocauseto
            beflledanaypropriateapplicaûon forauioritytoretaintheservicesofsuch lnnq;anditisfudher


           RESOLVEA,thatt:eDesir atedPersonsbeandeachofth* actingaloneorinanycombinauon
           hereby isauthorized and empowered on behalfofand in tllenam eofthe Compu y,to obtain post-,
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           peution fmaniingaccore gtotermnnegoûated,ortobenegodated, by the msnagem entofthe
           Com pany,inoludh g tm derdebtor-in-m ssession credh faoilitiesorzelatingto theuseofcash
           collatem l;and to enterinto any guaranteesand to plH ge and grantIienson itsassetsasm ay be
           contemplated: byorrequiredunde:tlleternu ofs'uchpost-petidonsnancingorcashcollateral
           areem ents;apdin connectiontberewitllytheDesignatedPersonsateherebyautholizedanddirected
           toexecuteap ropriateloanareements,cashcollateralageementsandrelatedancillarydocuments;
           and itisfnrther


           QESOLVED;thattheDesir atedPersonsbeand eachofiem, ace g aloneorin any combination,
           herebyisaulozized,div tedandempowErc onbehalfofandintheonmeoftheCompany,to
           securethepam'entandperformanceofanypost-petYonfmancingby(i)(a)plMgingorgranting
           liensormortgagesonyorsœ urity interestsin, alloranypoï on oftlw Com pany's assets,including all
           oranypoh on.
                      oftlzeissmedand outstandlngcapitalstock m enerœ pinterests,ormembership
          interestsofanyIsubsidiariesofthe Com pany
                                                     , whet
                                                          hernow ownedorhereaheracquired,and(b)
          causing any subsidiary oftheCompany to pledge orp'àntliensorm ortgageson, orsectuity interests
          in,allorany portion ofsuch subsidiary's assets,whethœ now owned orhereaReracquireds and
           (ii)enteringinioorcausingtobeenteredintosinoluding,witlmutlimitation,causinganysubsidiaries
          oftheCompe y to enterinto,such creditap eements, guarantees,otherdebtinsfnzm ents,security
          areements,ptedgeameements,controlagreements,hter-ciedhoragreements, m ortgages,deedsof
          tlust andotheiaveementsasarenecessam appropriateordesirableto effectuatethehtentofior
          m attœsreasongbly contemplated orimplied by,tllisresolution in such form , covering such collaterd
          and having such otherterm sand contM onsasare approved ordeem ed necessary, appropriate,or
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       desirableby the officerexecuting the same,the execution thereofby such officertobeconclusive
       evidence ofsuch approvalordetermimation;and itisfurther


       QESO LVED ,thattheDesir ated Personsbe and each ofthexn,acting alone orin any com bination,
       hereby isauthodzed,directed and empow ered on behalfofand in thename oftheCom pany,to
                                                  .

       perform the obligationsoftheCompany tm derTitle 11ofthe United StatesCode,with a11such
       actionsto beperformed in such m nnner,and allsuch cedilicates,instnlments,guaranties,noticesand
       docum entsto beexecuted and delivered in such form,astheoë cerperform img orexecuting the sam e
       shallapprove,and theperform ance orexecution thereofby such om cershallbeconclusive evidence
       ofthe approvalthereofby such offcerandby the Company;and itisfurther


       Q ESO LVED ,thatthe DtsiN ated Personsbeand each ofthem ,acting aloneorin any com binationy
       hereby isauthorized,directed and empowered on behalfofand in thenam e ofthe Com pany,to cause
       theCompanytoenterlnto,execute,deliver,certify,sle,recordandperform suchapeements,
       instrllrnents,motions,affidavit:,applicauons forapprovalsorralingsofgovernm enlloiregulatory
       authozities,certifcatesorotherdocum ents,to pay allexpenses,including Iiling fees,and to takesuch
       otheracuons,asinthejudm entofsuchDesir atedPersons,shallbenecessary,properanddesirable
       to prosecuteto a successfulcompletion the Banknlptcy Case and to effecm atetllerestruchlringofthe
       Com pu ylsdebt,otherobligations,organizationalform and s% ctm eatld ow nership bfthe Company,
       a11consistentwitllthe foregoing resolutionsand to carry outand putinto effectthepurposesofthe
       foregoing resoludons,and the tmnqactionscontem platedby theseresolutions,theirauthority
       therelmto to beevidenced by thetaldng ofs'uch actions;and itism rtber


       RESOLVED ,thatthe DesignatedPersonsbe mld each ofthemoacting aloneorim mly combh ation,is
       hereby authorized,directed and empow ered,in thenam e and on behalfofthe Com pO y,to adopt
       resolutiom and othem ise exercise tlm rightsand powersoftheCompany assuch Desir ated Person
       maydeem necessary,appropriateordesirable(i)asamemberormanager(howeverdenominated)of
       thedirectandindirectsubsidiariesoftheCompanythatarelimitedliabilitycompanies(ifapyl,(ii)as
       generalpsrtnerorlimitedpnrtnerofthedirectandindkectsubsidiariesoftheCompanythatare
       limitedpartnerships(ifaayl,and(iii)asastockholderofthedirectandindirectsubsidiariesofthe
       Companythatarecorporations(ifany);aadthalthereuponsuchresolutionsshallbedeemed adopted
        asand fortheresolutionsofeach such subsidiary ofthe Company;and itisfurther


        RESOLVED,thata1loftheactsand kansactionsrelating to m atterscontemplated by the foregoing
        resoluéons,wllich actswould havebeen approvedbythe foregoing resolutionsexceptthatsuch
        actionsweretaken priorto 1heexecution oftheseresolutions,arehereby in a11respectsconflnmed,
        approved and ratifed.



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                              OM NIBUS RESOLUTION OI2'I-IIE PRESIIIING O FFICER (sdltestlllltion)
                                                                   OF
                                             DAlUS HOLDCO,LNCO JRW IN NATUIRA IUS
                                                          (tllctdcorporations'')
                 RATIFICATION AND AUTHORIZATION 3'0 FILE A VOI,UN'I-ARY PETITIO N UNDER THE
                      PROVISIO NS OF CIIAPTER 11OF TITLE 1l()F THE UNITED STATES CO 1)E
                                    .                                                                  .    -




                 NVI.
                    1EREAS:
                 A.       0n slay l3,2024 Irwin Naturals,Inc..a BritisllColut
                                                                            nbia Corporation (1eparcnt''),atlthorizcd a
                          Svrittcn conscnttitled tiolnllibusSvrittcn ConsentII.
                                                                              tïVIN NATURALS,INC..a British Colunpbia
                          Comoration,($1Parent'')andAffilialed Entitics-''(esBankn/ptcy Conscnt'')Ialtaehed llcrclo. Tllc
                          Bankruptcy Consent authorizcd Parcnt.the Corporations.and 5310 Holdings, LLC'to file n
                          volunta:y petition undertlle provisions ofChaptcr ll ofthc United StatesCodc,among othcr
                          authorizationsdcsigncd to carry outtllatthc ultilnate goalofauthorizing an insolvency filing in
            ''
                          ordcr to pr?tccl thc Corporations and rclatcd cntitics.Thc Bankruptcy Conscnt was validly
                          exccuted by the board of directors of Parent,as wcllas the dircctor for each of authorizcd
                          subsidiarics - 5310 Holdings. LLC, DA1 US Holdco. lnc.,and Irwin Nâturals, a Nevada
                          Com oration.                                                                              '

                 B.       On or around,M ay 12,2024,East W cstBank (Atl-cndcr'') pumonedly draftcd and executcd
                          documentsattemptingtoutilizcthcirproxyIights(stproxyRights'')containcd inSection3.07 of
                          thcGuarantccandSccurity.Agreelnent,datcdasofFcbruary l,2023(thcttGuardntceandSccurity             .
                          Agrccmcnt''
                                    )bctwcenfnvinNaturals,Inc,aBritishColumbiaComorations,theCorporations.and
                      .   otherwhollyowncdlimitedliabilitycompanies('çproxyDocs.''). Invin Naturalswasinformally
                          told ofsuchactiononM ay l3,2024,anddidnotcngagcwith lhenewly placed DirecloruntilM ay
                           l6,2024.Also,plcasc. note thatno Proxy Rightswcrc attempted to beulilized i!1regardsto thc
                          stock inParent.

                 C.       Thc Com oration and the Presidcnt and CEO of thc Comorations, Kiec lrwins (-çprcsiding
                          Of'
                            ficcr'')disagreethatthcProxy Docswerelegitimatclycxccutcdductolhcfactthatpriortothc
    '                     use of thc Proxy Rights in the Guarantee and Sccurity Agrccmcllt,alnong other agremncnts
                          bctwcen Lcndcrand Comorationsswas breachcd by thc Lender,tbcreby ntlllifying thc rights of ,
                          thc Lcndcrin thc rclcvantProxy Rigbls.Tllcsc breacbcs are laid outand allcged in thc dcmand
                          Icttcrsentto thc LcndcronMay,7,2024 attachcd hcrcto.(*eDcmand Lcttcr*').Nlorcovcr,other
                          potcntialdcficicncics in thc Proxy Docs are colltinucd to bc reviewed mld allalyzcd by thc        .-
'                         Com orations,aswellasthenoticedatebcing in disputc.

                 D.       Howcvcr,duc to thc Lcndcralso acting asthcCorporations'conuncrcialbank,Lcndcrisableto
                          swccp any incoming litnds ol1 a daily basis, and llas app    -roval powcr over all paynlent
                          disburscmcntsby Company. Followinp due to tilc inability ofthc Com orationsto operate and
                          function on a daily basis witllou! thc cooperation ot-thc Lender thc Prcsiding Om ccr of (hc
                          Comorationsdccided to coopcratcwitlltlle Lenderand adhercto the Proxy Docs in orderIbrtlle
                          Corporations to Inaintain their ability to opcratc fbr thc hcncfit of thc stakeholders in thc
                          Corporations.
                 E.   The Prcsidillg Officcr's dccisioll ttlcoopcrntc witllProxy Inocs il)furlllerancc o1-his lidllcial'
                                                                                                                       y
                      duticst()tllc Corporationsantlotllcrslakcholdcrssllallnotbc construcd asagreeltlcnt,approval.



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'
            tacitapproval,or acccptancc oftllc validity of tltc Proxy Docs,and the Prcsiding Officcr and
            Corporations rcscn'c allrights relcvantto applicable law and/or facts,and such coupcralion as
            dcscribed hcrein,shallno!bc dccmcd to constitutc a waivcr or rclinquisllmcntof-any of thc
            Comorations'rights or rcmcdics,whcthcrlcgalorcquitable,aIlofwhich Jtre hcrcby expressly
            rcsclwctl.

      F.    OnAugust8a2024at5:00PM PST thcdircctorofthcCorporationsinstallcdbyLendcrsubjcctto
            the Proxy Docsrcsigncd asdircctoroftllc Comorction,and did notnamc adircctorto scrve out
            histcnn.
      G.     In an abundance of'cautiol),and in a sccnario whcrc sucll Proxy Rigllts arc declned to bc
             lcgitimate and enfbrccablc,and in tlcabsence ofascrving dircctor,tllc Prcsiding Ofliccroftlle             y
             Cöm orations wishes to rcillstate and/or approve thc Banknhptcy Consent on hchalf of tbe
             Com orations.
       H.    Forthcavoidanceofdoubt,thereisno qucstionasto wbcthcrthcauthorization or53l0 Holdings,
             LL.C ofthe Bânkruptcy Cônscntis valid ornot,asthe Presiding Om cer was ncvcrtcrm inatcd
             from his formalposition as thc CEO and Prcsidcntoflnvin Naturals,Nevada Corporation of
             wllich authority was uscd to agrcc to such consent. However,for the cvoidance of doubttbc
             Pm siding Om ccrshallbcre-authorizingthatauthorization herein.
       1.    Forthc avoidancc efdoubt,there isno question asto whcthcrtllc authorizntion ofParcntofthc
             BankruptcyConsentisvalidornot,asParcntwasnotsubjccttotbcProxyDocsk
                              %
       J.    The Bankruptcy Conscntin its fullczpacitysand allRecitals and Rcsolutions containcd in and        '
             authorizcd by thc Bankruptcy Consentarc hcrcby explicitly incomorllted hcrcin,as ifrcstatcd in
             thisResolution.


                 . REFORE,BE I
       N 0 55/TITE            T RESOLVED TIIAT:
       1.    Thc BallknTptcy Consentis hercby ratificd and re-cont
                                                                 snncd by tllc Presiding Ofticer of the
             Com orctions;
       2.    Ifnecessary,in thc altenlativc,thc Prcsiding Ofticeris authorizing tllc Bankruptcy Consenton
             bqhalfofthcCorporations;
       3.    ThcPrcsiding Oniccrand CorporationsrcscrvcaIlrightsalld argtllllentsunderapplicakle law and
             face and any action by thc Cnrporations rclated to thisRcsolution,does notwaivc any rights.
             reiucdics,whcthcrlegalorcquitablc,allof'whicllare exprcssly rcsenzed and may beexcrciscd at
             any timcinrclation tothcProxy DocsandLender,and
       4.    Any oncom ccrordirectorofthc Corporation.be and ishcreby authorizcd forand on behalfof
             thè Corporation lo execute,whctherundcrthecoqloratcscalofthc Corporation orolbenvise,alld
             dèlivcr each transaction doculucntand ::11such otherdoculncnts and instruments,to I'   nakc all
             statutory filingsrcquired to be Inadcby lllc Corpol
                                                               mtion and to do allstlcl)olhcractsorthingsas
             nlaybcnecessaryordcsirablcto givecflkctto tluforcgoing.


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  GENERAL
  NOW THEREFORE BE IT RESOLVED TIIAT:
  1.    a1lactions takcn by tbc om ccrsand directorsoftlc Corporation prior.to thc date hcrcofand in
        furthcranccofthe forcgoingarchcrcbyratificd.approvcdand conûrmed in allrcspects;

  2.     thè directors and omccrs ofthc Corporation (orany onc ofthcm)arc hcrcby authorizcd and
         dircctcd,fororon bclmlfofthcCorporation,to exccutc and to dcliverallsuch othcrdocnmcnts
         and to do allsuch otheractsand tbingsassuch dsrcctnrts)orofficcrts)lnay dcterminc to be
         ncccssary ordcsirablc to givc cffec!to tlle transactionscontcmplatcd by thisrcsolution shallbe
         decmedtohavcbccnautllorizcdbythisresolution,incltlding,butnotlimitcdto,(i)thcnegotiation
         of stlcll additional agrccmcnts, amcndlrknts, supplclncnts, rcports, documcnts, instruments,
         applicationsand certificatcsnotnow known hutwhicllmay hcrcquired,Ui)thcncgotiation oî
         suèh changes and additions to any agrccmcnts,amendments,supplcments,reportsfdocuments,
         instrumcnts,applicationsandccrtiûcatcscurrentlycxisting,(iii)thecxccution,delivcryandfiling
         (ifapplicablc)ofanyofthcforcgoing.and(iv)thepaïmentofallfecs,uxcsandothercxpcnscs
         as such dircctorls) and/or cfficcrls)of the Comoratlon shalldccm ncccsscry,appropriatc or
         advisablc inordertocarry outthc intcntand accomplish thcpurposcsof01eforcgoing rcsolutions
         and thctmnsactionscontcmplatcdthcreby (a1lofsuch ace,ncgotiations,cxecutions,deliverics.
         filings and payments to be conclusivc cvidence thatthc board ofdireclors of thc Corporation
         deemedthesamctobcnecessary,appropriatcoradvisablc);and
  3.     thçse resolutionslnay bccxccuted in scveralcountcmartsand by electronic tzansmission,eacl)of
         which whcn so exccutcd shallbe decmcd to bc an original,and allsuch countcrparts shallbe
         deemcd tobcexccutcd cffectiveasofthcdayand yearhcrcinaherwrittcn.


  ThePresiding OffccrofiheCorporalionshcrcby conscnti))writing to thcforcgoing resolutionson this
  81 day ofAugusta2024.




                                       Signaturesen nextpage




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                     SignaturePagcfortlle OnlnibusResolution titled -
  ItRATIFICATION AND AUel'l1OItlZA'
                                  rlON 3'0 FILE A VOLUNTARY PETITION UNDER THE
        PROVISIONS OF CHAPTER I1 OF TITI.E 1lOF THE UNITED STATES CODE''


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                                                 @e Z.
                                                     -- '
  Klcc Invin,AsPrcsidentand CEO ofDAIUS Holdco,Inc.,aNcvada Corporation



         A                       f -) . > &
  Klec Invin,asPrcsidcntand CEO ofInvin Naturals,aNcvadaCorporation



                                         .
                                                 y.
  Klcclnvin.for5310 Holdings,LLC,asPresidcntandCEO ofInvinNaturals,aNevadaCom oration,sole
  managingmcmberof5310 Iloldings,LLC




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 Attorney orParty Name,Address,Telephone & FAX                     FOR COURT USE ONLY
  Nos.,State BarNo.& EmailAddress
 Irwin Naturals,a Nevada Corporation
 300CorporatePointq,Suite550
 CulverCi
        ty,CA 90230
 joseph@ irwinnatural
                    s.com




  X Debtorls)appearing withoutattorney
  Z AttorneyforDebtor
                                       UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA -sAN FERNANDO VALLEY DIVISION
  ln re:                                                           CASE NO .:
  Irwin Naturals,a Nevada corporation                              CHAPTER:11



                                                                              VERIFICATION OF MASTER
                                                                             MAILING LIST OF CREDITO RS
                                                                                        ILBR 1007-1(a)1

                                                     Debtorts).

Pursuantto LBR 1007-1(a),the Debtor,orthe Debtor'sattorney ifapplicable,certifiesunder
penaltyofperjurythatthe mastermailing Iistofcreditorsfiled inthis bankruptcycase,consisting of
13 Sheetts)iscomplete,correct,andconsistentwiththe Debtor'sschedulesand I/we assumeaII
responsibility forerrors and om issions.
(addedbyDebtor)Additionally,tlemastermailillglistofcrcditol
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beamended and stlbmittetltotlecourtassoo aspracticable.
Date: t'- ).wgst   .

                                                                  Signature ofDebtor 1

Date:
                                                                  SignatureofDebtor2 (ointdebtor)(ifapplicable)
Date:
                                                                  SignatureofAttorneyforDebtor(ifapplicable)

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                  1010 DATA SERVICES LLC
                  PO BOX 675085
                  DETROII M I48267-5085



                  ACOSTA INC
                  PO BOX 742959
                  ATLANTA,GA 30374-2959




                  ADVANTAGESALES& M ARKETING
                  7905 GO LDEN TRIANGLEDR STE 150
                  EDEN PRAIRIE,M N 55344-7220




                  AM ERICAN ASSOCIATED PHARM ACIES
                  201LONNIE ECRAW FO RD BLVD
                  SCOU SBORO,AL35769




                  AM ERICAN EXPRESS
                  PO BOX 0001
                  LOSANGELES,CA 90096-8000




                  AM W ARE FULFILLM ENT LLC
                  PO BOX 956430
                  DULUTH,GA 30095




                  ANTHEM BLUECROSS
                  DEPT 5812
                  LOSANGELES,CA 90074-5812




                  APG INC
                  1733H ST STE450 138
                  BLAINE,W A 98230
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                  ARM ANINO LLP
                  PO BOX 398285
                  SAN FRANCISCO,CA 94139-8285




                  BALLARD SPAHR LLP
                  1735 MARKET STREET51ST FLOOR
                  PHILADELPHIA,PA 19103-7599




                  BERG M ARKETING GRO UP
                  36233 IDAHO DRIVE
                  STERLING HEIGHTS,M I48312




                  BREX INC.
                  12832 FRO NTRUNNER BLVD
                  DRAPER,UT 84020




                  CALL& JENSEN
                  610 NEW PORT CENTER DR.STE700
                  NEW PO RT BEACH,CA 92660




                  CANADIAN ANALFDCALLAB
                  6733 KITIM AT ROAD
                  M ISSISSAUGA,ON L5N 1W 3




                  CAPTEKSO FTGELS INTERNATIO NALINC
                  16218 ARTHUR ST
                  CERRITOS,CA 90703




                  CDZSALES INC
                  PO BOX 1472
                  PALM HARBO R,FL34682
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                  CIRCANA LLC
                  203 N LASALLESTREET
                  CHICAGO,IL60601




                  CLARK HILL
                  PO BOX 3760
                  PIU SBURGH,PA 15230




                  COAST3PL
                  PO BOX 1077
                  GUASTI,CA 91743




                  COAST W AREHOUSE
                  PO BOX 1077
                  GUASTI,CA 91743




                  CONNECTED CFO LLC
                  3812 FLOW ERING GROVECT
                  LO UISVILLE,KY40241




                  CONNELLCOM M UNICATIONS
                  155W ASHINGTON STREET
                  KEENE,NH 03431




                  CR3 PARTNERS LLC
                  13355 NOELROAD STE2005
                  DALLAS,TX 75240




                  CREATIVESALESAND MARKETING
                  16607 BLANCO ROAD STE804
                  SAN ANTONIO,TX 78232
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                  CULVER POINTE LLC
                  300 CORPORATEPO INTESTE220
                  CULVER CIR CA 90230



                  DENTONSCANADA LLP
                  77 KING STREET W EST SUITE400
                  TO RONTO,O N M 5K 0A1




                  DSV AIR & SEA
                  2200 YUKON COURT
                  M ILTON,O N L9E1N5




                  DSV ROAD INC
                  2200 YUKON COURT
                  M ILTO N,O N L9E1N5




                  DSV SO LUTIO NS INC.
                  8590 AIRPORT ROAD
                  BRAM PTON,ON L6T 5A3




                  EAST W ESY BANK
                  9300 FLAIR DRIVE4TH FL
                  ELM ONTE,CA 91731




                  EXPERW OICE
                  DEPTCH 19775
                  PALATIN E,IL60055-9775




                  FEDEX
                  DEPT LA PO BOX 21415
                  PASADENA,CA 91185-1415
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                  FEELRITE NATURALFOOD SHOPPESINC
                  1445 NIAGARA FALLS BLVD SUITE100
                  AM HERSI NY 14228



                  FELDKAM P M ARKETING
                  7691FIVE M ILE RD SUITE203
                  CINCINNATI,OH 45230




                  FULLSTREAM GROUP
                  329 BUU ERFIELD RD
                  SAN ANSELM O,CA 94960




                  GOW LING W LG (CANADA)LP
                  PO BOX 466 STN D
                  OU AW A,O N ON K1P 1C3




                  GUISE& ASSOCIATES
                  2008 N COUNTRY CLUB DRIVE
                  CANB% OR97013



                  HERB SHO P 11
                  11173TARA BLVD
                  HAM PTO N,GA 30228




                  HOLLYW OO D ALLIANCECANADA INC
                  7 ST THOM ASSTREET STE208
                  TORONTO,ON M 5S2B7




                  IBOU A INC
                  1801 CALIFORNIA ST SUITE 400
                  DENVER,CO 80202
Case 1:24-bk-11323-VK   Doc 1 Filed 08/09/24 Entered 08/09/24 16:36:51   Desc
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                  INFO RM A M EDIA
                  24652 NETW ORK PLACE
                  CHICAGO,IL60673




                  INFORM ATION RESOURCES INC
                  4766 PAYSPHERECIRCLE
                  CHICAGO,IL60674




                  INM AR BRAND SOLUTIO NS INC
                  ONEW EST 4TH STREET SUTIE500
                  W INSTO N SALEM ,NC 27101




                  INM AR OlQ LLC
                  PO BOX 604026
                  CHARLOTTE,NC 28260-4026



                                   I
                  INM AR PROM OTIONS-CANADA INC
                  ONEW EST4TH ST SUITE 500
                  W INSTON-SALEM,NC 27101




                  INTERW EST BRO KERAGEINC
                  1893 W EST 3600 SOUTH
                  W EST VALLEY CI
                                T% UT 84119



                  IPFS CORPO RATIO N
                  1055 BROADW AY IITH FL
                  KANSASCIlW;MO 64105



                  IRICANADA LTD
                  PO BOX 310
                  TORONTO,ON M 5C 2J4
Case 1:24-bk-11323-VK   Doc 1 Filed 08/09/24 Entered 08/09/24 16:36:51   Desc
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                  JKSALES
                  12 M ELFORT DRIVE
                  PINEHURST,NC 28374




                  JOHNSON & BERTRAM LLP
                  27201 PUERTA REALSTE300
                  M ISSION VIEJO,CA 92691




                  JW PSALES
                  157 SHEEPHILLROAD
                  RIVERSIDE,CT 06878




                  K1PACKAGING GRO UP
                  17989 EAST ARENTH AVE
                  CI
                   TY OFINDUSTR; CA 91748



                  KARLED ENTERPRISES
                  2392 M O RSEAVESUITE 100
                  IRVINE,CA 92614




                  KIM BERLYA.BO ODJEH
                  7022 KINGSCOTEPARK
                  INDEPENDENCE,O H 44131




                  LANDSBERG
                  PO BOX 101144
                  PASADENA,CA 91189-1144




                  LO UIS F.LEEPER CO .
                  419 FRIDAY ROAD
                  PIU SBURGq,PA 15209
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                  M ARKJUDKINSCONSULTING CO
                  74023/4ARIZONA AVE
                  LOS ANGELES,CA 90045




                  M ARKSALAM ON
                  305 W HITETAILCIR
                  LAFAYEU E,CO 80026




                  M EDIA BRO KERSINTERNATIONAL
                  6 CO NCOURSEPKW YSUITE1850
                  ATLANTA,GA 30328-6117




                  M IKESULLIVAN SALESCOM PANY
                  1674 EAST CLIFFROAD
                  BURNSVILLE,M N 55337




                  M IU ENTHALASSOCIATES PKGB INC
                  1315 NW M ALLST STE1
                  ISSAQUAH,W A 98027



                  MRC SM ARTTECHNOLOGY SOLUTIONS
                  PO BOX 843760
                  LOSANGELES,CA 90084-3760




                  NIELSEN CO -NIELSEN CONSUMERLLC
                  PO BOX 88956
                  CHICAGO,IL60695-8956




                  NUBORN EXPRESS INC
                  17103 KINGVIEW AVE
                  CARSON,CA 90746
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                  OC & C STRATEGYCONSULTANTS
                  250 W EST 55TH STREET
                  BROOKLYN,NY 11212




                  OM EGA SALES
                  3701LONETREEW AYSTE9
                  ANTIOCH,CA 94509




                  PARAGON LABORATORIES
                  20433 EARLSTREET
                  TORRANCE,CA 90503




                  PARTNER'S DELIVERY INC
                  10837 COM M ERCEW AY #D
                  FONTANA,CA 92337




                  PECO PALLET INC
                  2990 M O M ENTUM PLACE
                  CHICAGO,IL60689-5329




                  PHILBORTMAN & ASSOCIATES
                  29777TELEGRAPH ROAD STE 1637
                  SOUTHFIELD,M I48034




                  PRECISION SALES& M ARKETING
                  23VAUSESTREET
                  NORTHPORI NY 11768



                  PURE GREEN CORP
                  5455 W ILSHIREBLVD STE1410
                  LOSANGELES,CA 90036
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                  PUSHOR M ITCHELLLLP
                  301 1665 ELLIS STREET
                  KELOW NA,BC V1Y 2B3




                  QUOTIENTTECHNOLOGY INC
                  545W ASHINGTON BLVD 8TH FLOO R
                  JERSEYCIR NJ07310



                  RAKUTEN M ARKETING LLC
                  PO BOX 415613
                  BOSTON,M A 02241-5613




                  RESO URCESW HOLESALEINC
                  15240 ESTARDUST DR
                  FO UNTAIN HILLS,AZ 85268




                  RETAILBUSINESSSO LUTIO NSINC
                  3079 SILVER LAKE BLVD
                  SILVER LAKEVILLAGE,O H 44224




                  RITEAID
                  200 NEW BERRY COM M ONS
                  EU ERS,PA 17319




                  ROB LASSALLE
                  PO BOX 572113
                  M URRA; UT 84157-2113



                  RO BINSON PHARM A
                  3330 S HARBO R BLVD
                  SANTA ANA,CA 92704
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                  RPM GROUP
                  305 SW 18TH STE 3
                  BENTONVILLE,AR72712




                  RSM US LLP
                  4650 EAST 53RD STREET
                  DAVENPORI I
                            A 52807



                  RUST LOGISTICS
                  15353 OLD HIGHW AY 80
                  ELCAJO N,CA 92021




                  SAVE NATURALLY INC
                  3632 EAST BARANCA CO URT
                  GILBERI AZ 85297



                  SELECT STAFFING
                  PO BOX 512007
                  LOSANGELES,CA 90051-0007




                  SHANKMAN & ASSOCIATES INC
                  31635 AURORA ROAD
                  SOLON,OH 44139




                  SILVERTIP LLC
                  PM B 161
                  HERM OSA BEACH,CA 90254




                  SOCALGAS
                  PO BOX C
                  M ONTEREY PARK,CA 91756-5111
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                  SOUTHEASTERN G ROCERS
                  8928 PROM INENCE PKW Y BLDG 200
                  JACKSONVILLE,FL32256




                  SPECIALIZED M ARKETING INTL
                 '8220 ELM BROOK DRIVE
                  DALLAS,TX 75247




                  SPINS LLC
                  PO BOX 776803
                  CHICAGO,IL60677-6803




                  STAR SALES& MARKETING
                  3000 HAYESROAD
                  HO USTON,TX 77082




                  TABSGROUP INC
                  6 CO RPORATE DRIVESTE422
                  SHELTON,CT 06484




                  THERENEW CO ILLC
                  4031ASPEN GROVE DRIVESUITE370
                  FRANKLIN,TN 37067




                  THESHUSTER GROUP LLC
                  2213 M ENDON ROAD
                  W OONSOCKEI RI02895



                  THESW ANSON GROUP
                  2150 E LAKECOOK RD SUITE325
                  BUFFALO GROVE,IL60089
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                  TLSTRANSPORTATION INC
                  41840 M CALBY CTSTEA
                  M URRIETA,CA 92562




                  TLSTRANSPORTATIO N INC
                  41810 M CALBYCT
                  M URRIETA,CA 92562




                  TRUSTPILOT INC
                  PO BOX 392680
                  PIU SBURGH,PA 15251-9680




                  VENABLE LLP
                  PO BOX 62727
                  BALTIM ORE,M D 21264-2727




                  W EST BLOOM FIELD M ARKET LLC
                  30777 NORTHW ESTERN HW Y STE301
                  FARM INGTO N HILB ,M I48334




                  W FBM LLP
                  19900 M ACARTHUR BLVD SUI
                                          TE 1150
                  IRVINE,CA 92612-8433




                  W ILSON ELSER
                  555 SFLOW ER ST SUITE2900
                  LOS ANGELES,CA 90071




                  M PP PACKAGING INC
                  1921 SBUSINESS PARKW AY
                  ONTARIO,CA 91761
